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03-CV-03427-EXH

 

 

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MAR 2 1 2003

KITSAP COUNTY CLERK

IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR KITSAP COUNTY
TECHNICAL PLASTICS GROUP, LLC

fikia QUEST ACQUISITIONS, LLC, an
Hilinois limited liability company,

Plaintiff,

CAUSE NO.: 02 Z 02969 0

[PREAPOSED| ORDER GRANTING
PLAINTIFF'S MOTION FOR ESCROW
OF FUNDS

ORIGINAL

¥3.

OLD PLASTICS COMPANY, INC.
fik/a PRECISION LABORATORY
PLACTICS, INC., a Washington
corporation, THE AHS TRUST, a Belize
Trust, and THE SMITH FAMILY
TRUST, a Washington trust,

Defendants.
Set for Hearing:

Civil Motion Calendar,
9:00 a.m., March 21, 2003

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THIS MATTER having come on regularly before the Judge of the above-entitled Court, and

having heard oral argument, and having considered the following:

ORDER GRANTING PLAINTIFF'S MOTION FOR COLBERT & COLBERT. LLP
ESCROW OF FUNDS 1 GiG HARBOR, WASHINGTON 98335

(2753) 265 3650 @ FAX (253) 265.3660
WWW COLAERTLAW.COM

Page 6/8

 
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To: FREDERICK Kitsap County rage //b

Case 3:03-cv-05427- RBL "Document 2-2 Filed 08/01/03 Page 2 of 14

1, Plaintiff's Motion for Escrow of Funds and Defendants’ Opposition to said motion,
Declaration of Carl P. Colbert, and all attached exhibits; and

Defendants’ declarations and exhibits, if any and

pow oN

It is hereby ORDERED that Plaintiff's Motion for Escrow of Funds is GRANTED. Counsel
for Plaintiff and Counsel for Defendants shall, in good faith, agree to the appointment of an esctow
agent. Plaintiff and Defendants shall then, in good faith, discuss and agree to terms of an escrow
agreement on terms such that Plaintiff shal{ have the right to make any and al! payments on the
Promissory Note into an account opened in connection with said escrow agreement. Said
agreement shal! direct that this Court shal! have the sole authority to direct disbursements from
said account.

It is hereby further ORDERED that counsel shall confcr in good faith and complete all
arrangements in connection with this ORDER by March 26, 2003. Should this not accur, the
Parties are ORDERED to appear at TuOoe Auk IE's pe ray S05 gad he Cour

at! Bo
shall settle any issues. The purpose of this provision is that despite any disagreement among
counsel, the Court will take action in order to ensure that Plaintiff's first payment on the:
Promissory Note, duc March 31, 2003 may be made into escrow, or may be made on whatever
later date such an escraw account is available for the deposit of funds. The Clerk of Court and
Superior Court Administrative personnel shall accommodate the placing of this matter on the

docket on March 28, 2003, even if not contacted to do so until Mareh 27, 2003.

ORDER GRANTING PLAINTIFF'S MOTION FOR COLBERT & COLBERT, LLP
ESCROW OF FUNDS- 2 GiG HARBOR. WASHINGTON S@335

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Case 3:03-cv-05427-RBL Document 2-2 Filed 08/01/03 Page 3 of 14

| ORDERED this a day of han , 2003,

 

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R Presented by:

9 COLBERT & COLBERT, LLP

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By

i Carl P. Colbert, WSBA# 28818
12 Attomeys for Plaintiff{s)

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14 Copy received, approved as to form, notice of presentation waived:

1S GERARD, JONES & SHORT, P.S.

16 By

John Groseclose, WSBA# 29104

7 Attorneys for Defendants

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ORDER GRANTING PLAINTIFF'S MOTION FOR COLBERT & COLBERT. LLP
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Case 3:03-cv-05427-RBL Document 2-2 Filed 08/01/03 Page 4 of 14

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IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
IN AND FOR KITSAP COUNTY

11 || TECHNICAL PLASTICS GROUP, LLC
fik/a QUEST ACQUISITIONS, LLC, an
[2 || [llinois limited liability company, CAUSE NO.: 02 2 02969 0
Plaintiff,
PLAINTIFE’S MOTION FOR ESCROW
vs. OF FUNDS

OLD PLASTICS COMPANY, INC.

'6 || f/k/a PRECISION LABORATORY
PLACTICS, INC., a Washington
corporation, THE AHS TRUST, a Belize
ig || Trust, and THE SMITH FAMILY

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TRUST, a Washington trust,
19
20 Defendants,
“ Set for Hearing:
4 Civil Motion Calendar,
9:00 am., March 21, 2003
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PLAINTIFF'S MOTION FOR ESCROW OF FUNDS- I COLBERT & COLSERT, LLP

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Case 3:03-cv-05427-RBL Document 2-2 Filed 08/01/03 Page 5 of 14

| I. RELIEF REQUESTED
2 PLAINTIFF, FECHNICAI. PLATICS GROUP, LLC ("Plaintiff") hereby respectfully

moves this court to order the opening of an escrow account, or in the alternative, deposit with

4
; the court, for any and all funds to be paid by Plaintiff on that certain Promissory Note, the
6 ownership of which forms the very basis for this declaratory judgment action, until the

7 || ownership of said Promissory Note is duly established by this Honorable Court.

g

9 IL. STATEMENT OF GROUNDS
10 The underlying action herein is a declaratory judgment action, filed by Plaintiff, in order
" to determine the ownership of a certain Promissory Note (hereinafter referred to as “the
: i: Promissory Note”) issued by Plaintiff. Plaintiff has alleged that the Promissory Note has been
| ‘4 intentionally and improperly transferred by defendant Old Plastics Company, Inc. so as to

1s || extinguish certain rights Plaintiff has against Old Plastics Company, Inc. with respect to the
16 Promissory Note.
17 Plaintiff has obtained a money judgment against the true owner of the Promissory Note

18 {under Kitsap County Superior Court cause number 02-2-00474-3), which judgment has not

19 «as
been satisfied by the true owner (defendant Old Plastics Company, Inc.), despite Plaintiff's
20
1 demand. If defendant Old Plastics Company, Inc, is allowed to improperly transfer the
| oy Promissory Note ti would be allowed to receive the benefits of that note, while at the same

33 || time extinguishing Plaintiffs rights against defendant Old Plastics Company, Inc. with respect

24 || to the same Promissory Note.

35 The entire purpose of this declaratory judgment action is to determine the actual

26 ownership of the Promissory Note, so the Plaintiff does not lose the benefit of the contractual
7 and legal remedies it has against the truc owner of the Promissory Note, Old Plastics

. Company, Inc.

- : ; : RT ERT, LLP
PLAINTIFF'S MOTION FOR ESCROW OF FUNDS- 2 COLAER & co LBE -RT LL

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Case 3:03-cv-05427-RBL Document 2-2 Filed 08/01/03 Page 6 of 14

Under the terms of the Promissory Note, the first payment is due by Plaintiff on
March 31, 2003. The entire purpose of this action will be for naught if Plaintiff is required to
pay a party who is not the legal, truc owner of the Promissory Note. As this is this case,
Plaintiff respectfully requests that this Honorable Court issue an order allowing Plaintiff to
make its payments under the Promissory Note into an escrow account, or into the Court’s

registry, until this matter can be fully resolved on the merits.

Il. STATEMENT OF ISSUES
L. Whether this Court should order that payments on the Promisscry Note be made

into an escrow account or into the Court’s registry until the underlying declaratory judgment
action is heard in order to determine who owns the notes and is entitled to the payments

thereunder.

IV. EVIDENCE RELIED UPON
This motion is based on the pleadings and files herein and the Declaration of Carl P.

Colbert and all exhibits and atfachments theteto.

Vv. LEGAL AUTHORITY
This is a declaratory judgment action filed pursuant to RC W 7.24 et seq. Pursuant to
RCW 7.24.190, this Court has the specific authority (as wel] as its general equitable powers)
to “restrain all parties involved in order to secure the benefits and preserve and protect the

rights of all parties to the court proceedings.” RCW 7.24.190.

PLAINTIFF'S MOTION FOR ESCROW OF FUNDS- 3 COLBERT & COLBERT, LLP

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Case 3:03-cv-05427-RBL Document 2-2 Filed 08/01/03 Page 7 of 14

VL FACTS & ARGUMENT

Plaintiff purchased the assets of a precision molded plastics business from defendant
Old Plastics Company, Inc. three years ago. The purchase was made pursuant to an Asset
Purchase Agreement (as amended, the ‘Asset Purchase Agreement”). In connection with the
purchase and the execution of the Asset Purchase Agreement, Plaintiff issued to defendant,
Old Plastics Company, Inc., the Promissory Note, See Attachment C to Declaration of Carl
Colbert.

Defendant Old Plastics Company, Inc. commenced an arbitration against Plaintiff in
connection with the Asset Purchase Agreement and the transactions contemplated therein.
Plaintiff prevailed in the arbitration commenced by Defendant Old Plastics Company, Inc. and
was awarded $150,000.00. This award was confirmed in Kitsap County Superior Court.
Defendant Old Plastics Company, Inc. has not paid this judgment in full. In fact, the only
amount collected by Plaintiff on its judgment was an amount held in escrow by a third party.

Defendant Old Plastics Company, Inc. has attempted to engage in certain “transfers” of
the Promissory Note including purported “void ab initio” “transfers” to and from Belize trusts

and other trusts. Plaintiff has obtained documentation surrounding certain of said transfers.

Please see Attachment B to Declaration af Carl Colbert. These “transfers” violated the asset

purchase agreement. Furthermore, as “‘void ab initio” transfers, they did not occur. They
appear to either have been engaged in an effort to damage Plaintiff, or in an effort to somehow
move assets or otherwise maneuver in response to, or anticipation of the Federal
Government’s criminal cases against Norman Hugh Smith (currently serving three years at
FC] Sheridan for tax related conviction) and Alice Smith, the proprietors and sole prior owners
of Old Plastics Company, Inc. who sold the business to Plaintiff. See Attachment C to
Declaration of Carl Cotbert.

‘ ay RT, LLP
PLAINTIFF'S MOTION FOR ESCROW OF FUNDS- 4 COLBERT & COLBE

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Case 3:03-cv-05427-RBL Document 2-2 Filed 08/01/03 Page 8 of 14

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a IN AND FOR KITSAP COUNTY

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TECUNICAL PLASTICS GROUP, LLC
19 |} Zefa QUEST ACQUISITIONS, LLC, an

Winoie Limited Liability Company, ) CAUSE NO.: 02.2-02969.0

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18 PLACTICS, INC, a Washington }

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ig }| Trust, and TUE SMITH FAMILY

TRUST, a Washington ‘Crust, .
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4 IN THE SUPERLOR COURT OF THE STATE OF WASHINGTON
4 IN AND FOR KITSAP COUNTY

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His QUEST ACQUISITIONS, LIC, an
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CAUSE NO.: cae
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14 {] OLD PLASTICS COMPANY, INC
Hk/a PRECISION LADOR AVOUY
PLACTICS, ING w Washington

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al COMES NOW TECIINICAL PLASTICS GROUP, L146: (hersinufler “Ploinail”),

zz || alleging as follows:

 
 
  
 
  

 

 

 

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Case 3:03-cv-05427-RBL Document 2-2 Filed 08/01/03 Page 10 of 14

 

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171] orguniaed onder tha kuwn of the Stute of Washington with a peinvipal plans of business and

, reginloced agent logued in Kitsap County, Washington,

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14 {| SHEFent Kitsap County Superior Court Judgment provicusly obiined by Plainlitl agatirsl Old

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if 7, Jurisdiction and veruc are prope in Kiteap County, Washingtun.

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7 f) Promissory Now trom Ol Plastics ty dhe Bolize Trust,
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by Off Mastten’ judgment crelitors.
6 af, Maintitix a judgment creditor oF Old Plasites,
4 25, Phaintitl ix within ils rights to oxveute upon tho Proutiseavy Note ag un aaset of Old
afl Plastics,
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(07) srediur status would bg a fraudulent senvoyunce.
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rc V. PRAYER FOR RELI
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221) rum Okt Plsslies to any third purty wan (a) veld, and (hb) done int contraventian ol Uhe oxplicit
24 (uring af the Asset Vurghase Agreement;
2. For a stoclarutory Judytnont that any purpurted traaster of the Promissory Note
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